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                             Exhibit A
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 BALLARD SPAHR LLP
 A Pennsylvania Limited Liability Partnership
 By:    Dean C. Waldt, Esq.
 210 Lake Drive East, Suite 200
 Cherry Hill, New Jersey 08002
 Telephone: (856) 761-3400
 Facsimile: (856) 761-1020
 Attorney for Ranger Specialty Income Fund, L.P.
 and Ranger Alternative Management, II, L.P.


                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEW JERSEY

                                      :
In re:                                                  Hon. Michael B. Kaplan
                                      :
                                      :
PRINCETON ALTERNATIVE INCOME FUND, LP                   Case No. 18-14603
                                      :
and                                                     (Jointly Administered)
                                      :
PRINCETON ALTERNATIVE FUNDING, LLC
                                      :
                                                        Chapter 11
                                      :
               Debtors-In-Possession.
                                      :

                CERTIFICATION OF DAVID J. MARGULES, ESQUIRE IN
              SUPPORT OF APPLICATION FOR ADMISSION PRO HAC VICE

 I, DAVID J. MARGULES, in support of the Application seeking my admission before this Court

 pro hac vice as co-counsel for Ranger Specialty Income Fund, L.P. and Ranger Alternative

 Management, II, L.P. (collectively “Ranger”), pursuant to Rule 9010-1(b), hereby certify and

 state as follows:

         1.     I am an attorney and partner in the law firm of Ballard Spahr LLP. I maintain my

 regular office for the practice of law at 919 N. Market Street, 11th Floor in Wilmington,

 Delaware 19801-3034. Ballard Spahr LLP also maintains an office for the practice of law at 210

 Lake Drive East, Suite 200, Cherry Hill, New Jersey 08002.

         2.     I am a member in good standing of the bar of the Supreme Court of Delaware and

 admitted to practice in the United States District Court for the District of Delaware (admitted



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1983). I am also admitted to practice before the United States Court of Appeals for the Second

Circuit (admitted 2007) and the United States Court of Appeals for the Third Circuit (admitted

1990).

         3.    I am not under suspension or disbarment in any court and I have not been subject

to any disciplinary action by any court or administrative body.

         4.    Co-counsel for the Defendants in this matter will be Dean C. Waldt, Esq., an

attorney and partner in the law firm of Ballard Spahr LLP, maintaining an office at the firm’s

Cherry Hill, New Jersey office at the address noted above.

         5.    I have been asked by our client to act as co-counsel in this matter. I have been

involved with the representations of Ranger in various disputes with the debtors in these chapter

11 cases, including pending litigation before a JAMS Alternative Dispute Resolution arbitrator

that was interrupted by the filing of the bankruptcy cases. These disputes involve complex

factual and legal issues with which I am familiar. The duplication of my background and

experience in these matters would be a significant financial burden to my clients and could

negatively impact my clients’ interests. Mr. Waldt recently joined the legal representation team

in this matter as co-counsel upon the filing of these bankruptcy cases on March 9, 2018.

         6.    I have familiarized myself with the Local Rules of Bankruptcy Procedure

promulgated by this Court and will at all times conduct myself in accordance with such Rules

during the conduct of this case.

         7.    I have been advised of my obligation to make payments of an annual fee to the

New Jersey Lawyers Fund For Client Protection in accordance with New Jersey Court Rule 1:28

and shall immediately comply with that requirement upon my admission pro hac vice.

         8.    All notices, orders and pleadings may be served upon Dean C. Waldt, Esq. at the

Cherry Hill, New Jersey office at Ballard Spahr LLP. I understand that only an attorney-at-law

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